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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 Sabrina Outlaw,                     )
                                     )
              Plaintiff,             )
                                     )
       vs.                           ) Case No.:1:14-cv-1403-RLY-DKL
                                     )
 Med Shield, Inc.,                   )
                                     )
              Defendant.             )
 ____________________________________)_________________________________________

                         ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to Plaintiff’s Motion to Dismiss with Prejudice filed by the Plaintiff in this

 cause, this cause is hereby dismissed with prejudice, and each party shall bear its own respective

 costs and expenses, including but not limited to attorneys’ fees, incurred in connection with this

 cause.




 _____________
 12/29/2014                                       __________________________________
                                                     _______________________________
 Date                                                Richard L.
                                                  RICHARD     L. YOUNG,
                                                                 Young, Chief   Judge
                                                                             CHIEF  JUDGE
                                                     United  States District Court
                                                  United States District Court
                                                     Southern
                                                  Southern     District
                                                           District     of Indiana
                                                                    of Indiana


 ECF notification:

 Copies to electronically registered counsel of record.
